IDNNIE  T.
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      Case   POSY F A ./      Document 7344 Entered on FLSD Docket 09/18/2024 Page 1 of 4
CDCR', 8E-9659
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P.O. B0X 1050                                                            FILED BY                     D.C.
SOLEDAD, CA. 93960
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           jjservicesg3g6o@gmail-com,,                                            sEF 162229
R         '      .x                                                                ANGELA E.NOBLE
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LAYr0N, IJT. 84041                                                                s.o.oFil
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IPRO-SEI                                                                      :



                                   UNITED STATES DISTRICT COURT
                               IN THE SOUTHERN DISTRICT 0F FLORIDA


LDY IE 1.V POSO F JR.,
PLAIXrIFF ,                                      case N0: 9:20-MD102924-R1/
     X.
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     rf
      .                 7S.
                                                 COMPA INT F0R DECLARATORY AND
DI RE:
                                                 COMPENSATORY RELIEF AND F0R
ZANTAC CORPORATIOH,                              INJUNCTIVE RELIEF
OEFEND>NTIS)
                                                 ''DEMAND FoR JURY TRIAL''

                                                COUNT 1
                                      (LONNIE LEE POSLOF JR.)
              1. PLAIHTIFF, Lonnie tee Poslof Jc., (Hereafter as ''POSLDFC') is an individual who
resides in the County of Ivbntereyy California, Tne District of FTorthern of Califotnai, and
the Defendant ''ZNN/AC''(Ranitidine) (Hereafter as ''
                                                    ZANVACH) is a cdroporation organized
and existing under the taws pf the State of Florida, with a principle place of business,
          r
withip Miami, Florida.
              2.Ihis court has jurisdiction over this action uncler 28 U.SC. j 1331, as more
fully set out in this pleadiung.
              3. On or about Septelùber 2nd 2024, the plaiùtiff I/OSLDFI learned of these proceedings
îdcich was tl
            arough LEXISNFXIS application , and also learned through counsel Hblidhael L.
Baum''an attorney who is listed as class Counsel in this action for one of the original
plaintiffls of the active and curcent ctass action open for interpleader or joinder pleader.
              4. The defendant's have also seized a11 products containing kanididine which the
plaintiff (POStSF)
       Case 9:20-md-02924-RLR Document 7344 Entered on FLSD Docket 09/18/2024 Page 2 of 4


was told by his primary physician of the recall of thts product, and discovered the reaspn
for that recall and believes it is the causation for his physical injuries.
         5. llr. POSLOF suffers from many medical problems of his stomach and intestents,
such as but not iimiting to ''
                             Gastro-esophageal reflux disease''and ''Liesions in the stomach
                                                                                       '
                                                      ,
along with pulups which are potentially cancerouysf', etc. 5 Mr. POSLOF has been taking this
medication by Ehe defendpnt's company labeled either as ZANTAC or Ranitidine fôr years
due to his acid reflux issues and heartburn issueso Hr. POSLOF would either be prescribed

by his primary physician (PcP) or he would obtain it through the prison coxmissary (Canteen)
to relief his heartburn at the time.
  ,;    6. Fk. POSLOF believes that his liesions and possible cancerous pullups in his stomanh
is-caused by the ZMNTAC he consumed on a daily basis since as early as 2014. llr. Poslof has

been diagnosed by licensed doctors and has documenbation to provide evidentary proof of the
medical diagnosed conditionsa and the current painful stomach conditions that is caused by

this cancerojs product by ZAPJAC.
         7. Ihe defendant made nunerous representations on their T7 commercials and other ads

that the plaintiff (POSLOF) relied upon as accurate and healthy.And while taking the
product of ZANTAC it may havce relieved the heartburn but was causing permenant injuries to
l
vk . POSLOF that are painful and are of the defendant's fault.
        8. Fash of these representations was false. Tne truth is that ZANTAC knew fineir product

couldj
     ;
      cause cancer to humans due to Lhewir chemical compound struct
                                                                 .
                                                                   ure.As better described
in the ORIGINAL COMPLAINV filed against ZAhV
                                           'AC.
        9. As a result of this product and the defendant's fàilures to provide a warning
label top the public and the reliance on Z/A/AC being a safe produot, plaintiff POSLDF has

been damaged in the sum of 11,000,000,000.00.
                                       PM YER FOR REI.1W
        10. #LRINTIFF, tonnie Lee Postot Jr.,respectfully demands judgment against t'
                                                                                    ne
defendant:
        A. In the sum of $1 Billion Dollars;
                          .
    Case 9:20-md-02924-RLR Document 7344 Entered on FLSD Docket 09/18/2024 Page 3 of 4


        B. For the costs of this action and actual incurred cost thereof;
        C. Any other relief availablke as the Court deems just and proper.
                                           VERFIQATION
     (I) /lr. POSLOF DECLARES UNDER T;E PENALTY.OF PERJURY UNDER THE LAWS OF BCFH STATES ôF
CALIFORNIA XND FLORIDA, THAT IHE FOREGOING IS TRUE A)D ACCURATE.
        EXECUTED 0N THIS 61H DAY 0F SEPTP.fER, 2024, 15 THE COIJNYFY 0F MOITIXREY , CALIFOXSTA .


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